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Automated Med. Labs., Inc., 471 U.S. 707, 712 (1985) (internal quotation omitted). Federal
preemption may be “either expressed or implied, and ‘is compelled whether Congress’ command
is explicitly stated in the statute’s language or implicitly contained in its structure and purpose.”
Gade v. National Solid Wastes Mgmt. Ass'n, 505 U.S. 88, 98 (1992) (quotation omitted). Absent
express preemptive language from Congress, the Supreme Court has recognized that state law is
implicitly preempted if it conflicts with federal law. See id.

State law is preempted “to the extent that it actually conflicts with federal law.” Fidelity
Fed. Sav. & Loan Ass'n v. de la Cuesta, 458 U.S. 141, 153 (1982). A conflict arises where state
law “stands as an obstacle to the accomplishment and execution of the full purposes and
objectives of Congress.” Massachusetts Med. Soc’y v. Dukakis, 815 F.2d 790, 791 (Ist Cir.
1987). Preemption is also appropriate where complying with both the federal and state
regulatory schemes is impossible. Fidelity, 458 U.S. at 153. Moreover, where state law claims
rest on allegations that misrepresentations were made to a federal agency, such “fraud on the
agency” claims are preempted when (1) an “extensive mechanism” for federal enforcement
exists, and (2) permitting such claims would “upset the delicate balance” of federal statutory
objectives. Buckman Co. v. Plaintiffs ‘Legal Comm., 531 U.S. 341, 347-53 (2001).

In Buckman, plaintiffs claiming to have suffered injuries from an orthopedic product sued
the manufacturer’s regulatory consultant for allegedly making fraudulent representations to the
FDA in the course of the FDA approval process. /d. at 344. A unanimous Court ruled that the
state law claims were impliedly preempted, under the doctrine of conflict preemption, by the
Medical Device Amendments to the Food, Drug and Cosmetics Act (the “MDA”). fa. at 347,
The Court first observed that “[pJolicing fraud against federal agencies is hardly ‘a field which
the States have traditionally occupied,” and thus concluded that the usual “presumption against

finding federal preemption of a state-law cause of action” did #of apply. Jd. On the contrary, the
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Court reasoned that “the relationship between a federal agency and the entity it regulates is
inherently federal in character because the relationship originates from, is governed by, and
terminates according to federal law.” Jd. State law “fraud on the agency” claims, in contrast,
“inevitably conflict with the FDA’s responsibility to police fraud” and, “[{as] a practical matter,
complying with the FDA’s detailed regulatory regime in the shadow of the 50 States’ tort
regimes will dramatically increase the burdens facing potential applicants -- burdens not
contemplated by Congress in enacting the FDCA and the MDA.” Jd. at 350. “Given this
analytical framework,” the Court concluded, the plaintiffs’ state law claims conflicted with and
were impliedly preempted by the MDA. “The conflict stems,” the Court ruled, “from the fact
that the federal statutory scheme amply empowers the FDA to punish and deter fraud” in order to
achieve a “delicate balance of statutory objectives.” Jd, at 348.

Buckman compels a finding that the Montana and Nevada Best Price claims are
preempted by the Rebate Statute. First, like the Buckman “fraud on the FDA” theory, the Best
Price claims here are based on alleged misrepresentations submitted to a federal agency (HHS),
not to the States. As the Court pointed out in Buckman, policing fraud against federal agencies is
not a traditional function of state law. Jd. at 347. In fact, the federal interest here is far more
powerful than in Buckman, as the “policing” function that the States seek to assume here relates
to a contract between each manufacturer and the federal government -- not the States. See, e.g.,
Boyle v, United Technologies Corp., 487 U.S. 500, 503 (1988) (recognizing that contracts to
which the federal government is a party implicate “uniquely federal interests”). Second, like the
FDA in Buckman, HHS has an extensive array of enforcement mechanisms at its disposal under
the rebate program to “punish and deter fraud against it.” 531 U.S. at 348-50. Both the Rebate
Statute and the Rebate Agreement authorize the Secretary to survey drug manufacturers to verify

prices and the calculation of “Best Prices.” See 42 U.S.C. § 1320a-7c; Rebate Agreement
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§§ III(b)-(c). If a manufacturer refuses to comply with an audit or fails to provide timely or
accurate information regarding its best price, only the Secretary may impose fines. See
42 U.S.C. § 1396r-8b(3)(B & C). The Secretary also has the sole power to impose civil
monetary penalties, exclude entities from participation in federal health programs, and direct
state Medicaid agencies to debar them. See 42 U.S.C. § 1320a-7a, The only role for the States
in the administration of the Medicaid rebate program is to supply particular utilization data by
drug. See 42 U.S.C. § 1396r-8(b)(2)(A).°

Third, as in Buckman, Montana and Nevada’s Best Price claims raise the specter of a
patchwork of liability and reporting requirements across the country that would present
insuperable compliance obstacles and upset the “delicate balance of statutory objectives.”
Buckman, 531 U.S. at 347-50. As in Buckman, if federally-defined terms such as best price are
defined under individual state laws (as the States desire), “[as] a practical matter, complying with
[HHS’] detailed regulatory regime in the shadow of 50 States’ [laws] will dramatically increase
the burdens facing” the manufacturers that participate in the Medicaid rebate program. /d. at
348, 350. For example, if “best price” is defined one way under the Montana Medicaid fraud
statute, and another way under the Nevada Medicaid fraud statute, each participating
manufacturer will be required to file state-specific best price quarterly reports with HHS, rather
than the single, unified report to HHS that is currently required under the Rebate Agreement,
Obviously, filing a Montana best price report, a Nevada report, and other State-specific reports

with HHS would “dramatically increase” the burdens on participating manufacturers. CMS, in

> ‘the federal investigations involving compliance with the Medicaid rebate statute referenced in the Nevada and
Montana complainis also reinforce the primacy of the federal government in the rebate program. Those
investigations were conducted by HHS and the Department of Justice. See Nev. Cplt. J¥ 398-400, Mont. Cplt.

TV 628-30 (referencing AstraZeneca settlement); Nev. Cplt. {f[ 401-403, Mont, Cplt. Ff] 631-34 (referencing Wamer-
Lambert settlement involving Lipitor); Mont. Cplt. 49 617-19 (referencing GSK settlement involving Flonase and
Paxil) and {J 621-27 (referencing Bayer settlement involving Cipro and Adaiat CC).
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turn, would also be forced to process and evaluate these numerous state-specific reports, and to
issue different “Unit Rebate Amounts” for each covered drug and dosage by State. See
42 U.S.C. § 1396r-8(6)(2)(A). This would turn the Medicaid rebate program on its head, as
CMS, not the States, is required to calculate the rebate amounts owed to each State using the
uniform best price calculations. Jd. This multi-report regime would impose an enormous burden
on CMS and jeopardize CMS’ very ability to administer the Medicaid rebate program. Such a
Balkanized, burdensome regulatory regime is precisely what the Court prohibited in Buckman.
See 531 U.S. at 349-50.

Finally, as this Court has already found in connection with the ruling on removal, if the
States “were to prevail on the best price claims, it could result in substantial changes in the
Medicaid reimbursements paid out by the federal government.” State of Montana, 266 F,
Supp.2d at 259 (emphasis added), As other courts have ruled in connection with other
provisions of the Medicaid Rebate Statute, the imposition of such “substantial changes” in
Medicaid reimbursement cannot be predicated on state law. Specifically, several courts have
already concluded that Medicaid co-payment regulations that reduced reimbursement levels to
pharmacists for certain covered drugs were preempted by a provision in the Rebate Statute that
imposed a “moratorium” on “reducing dispensing fees for such drugs.” 42 U.S.C. § 1396r-
8(f)(1)(B). After the district court held that such state regulation was preempted because it
“conflictfed] with federal law in an area where Congress has clearly intended to create
uniformity,” Pharmaceutical Soc ¥OfN.Y., Inc. v. New York State Dep't of Social Servs., 1994
WL 33369, *6 (N.D.N.Y. Jan. 18, 1994), aff'd, 50 F.3d 1168 (2d Cir. 1995), the Second Circuit
affirmed, adding that the mere effect of the State regulation was sufficient for conflict

preemption, regardless of the State’s intent. See 50 F.3d at 1172 (“to the extent that the State’s

co-payment system results in the reduction of payments to pharmacists . . . it is preempted.”,

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See also Nebraska Pharmacists’ Ass’n v. Nebraska Dep't of Social Servs., 863 F. Supp. 1037,
1043 (D. Neb. 1994) (state law preempted for impermissible “tinkering with the formulas used to
calculate the reimbursement limits”); Indiana Pharmacists Ass'n v. Indiana Family & Soc. Servs.
Admin., 881 F. Supp. 395, 398 (§.D. Ind. 1994) (same result). Similarly, in this case, the States’
Best Price claims seek to “tinker” with nationally-uniform “best price” reimbursement
calculations that “could result in substantial changes” in Medicaid reimbursement, as the Court
has already held.

B. The Best Price Claims Also Fail Under Montana and Nevada Law.

Even if the Best Price Claims were not preempted, they fail under the Montana and
Nevada Medicaid Fraud statutes (Mont. Count III; Nev. Count V) and Montana’s False Claims
Act (Mont. Count IV).°

1, Plaintiffs Fail to State Claims Under the Montana and Nevada
Medicaid Fraud Statutes.

At the outset, it is important to recognize that these state statutes are intended to combat
fraud by “providers,” such as physicians and pharmacies who submit claims for payment to and
receive reimbursement from the Montana and Nevada state Medicaid programs. See Mont. Code
Ann §§ 53-6-160(2)-(3); Nev. Rev. Stat. §§ 522.580(b)(1)(a)-(b) (setting penalties against a
“provider who receives payment to which he is not entitled.”). For this reason, Montana law
authorizes claims for Medicaid fraud only against persons or entities who have “submit[ted] to a
Medicaid agency an application, claim, report, document, or other information.” Mont. Code
Ann. § 53-6-160(1). A “Medicaid agency,” in turn, is defined by law as “any agency or entity of

state, county, or local government that administers any part of the medicaid program.” Jd. § 53-

© The Best Price claims that purport to allege violations of Montana and Nevada's “deceptive trade practice”
statutes should be dismissed as preempted (supra pages 6-11) and for failure to satisfy Rule 9(b) (infra pages 18-20).

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6-155(9). Similarly, the Nevada statute also requires that claims for Medicaid fraud be based on
the submission of a claim, statement, or representation “with respect to the plan,” which is the
state Medicaid plan. Nev. Rev. Stat. §§ 422.480, 422,540(1). The Montana and Nevada statutes
also premise liability for Medicaid fraud on the submission of information used to determine the
amount of a “payment” under the Medicaid program. See Mont. Code Ann. § 53-6-160(1)
(requiring submission of information “used to determine .. . the amount of payment under the
medicaid program”); Nev. Rev. Stat, § 422.470 (defining “claim,” for Medicaid fraud purposes,
as a Communication used “to determine a rate of payment pursuant to the plan”),

The Montana and Nevada Medicaid fraud claims cannot satisfy these requirements. First,
the defendants do not submit claims, reports, or other information to any state agency in
Montana or Nevada under the Medicaid rebate program. On the contrary, participating
manufacturers submit best price reports only to CMS. Second, neither Montana nor Nevada uses
the best price data in determining the amount it pays for drugs under Medicaid. Montana
reimburses most providers for most prescription drugs at AWP-15% (Mont. Cplt. ¥ 162), and
Nevada reimburses for most drugs at AWP-10% plus a dispensing fee (Nev. Cplt. { 126). Thus,
the best price reports to HHS cannot be the basis for claims under the state Medicaid fraud
Statutes. See Mont. Code Ann. § 53-6-160; Nev. Rev. Stat. § 422.470.

2. Montana Faiis to State a Claim Under Its “False Claims” Act.

Montana’s assertion of state law False Claims act violations fails for similar reasons.
Under the Montana False Claims Act, a claim is actionable only if the claim is submitted to a
“state agency or its contractors.” Mont. Code Ann. § 17-8-231(1). In the Best Price claims,
there was no claim made to “state agency or its contractors.” Indeed, there was no “claim” at ali,

which is defined as a communication “used to claim specific services or items as payable or

reimbursable” or “to determine entitlement to or the rate of payment under the medicaid

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program.” Mont. Code Ann. § 53-6-155(4). The best price reports to CMS are not “claims”
under the Montana False Claims act because the reports do not “claim specific services or

items,” nor are they used by the State to “determine entitlement to or the rate of payment” under

the State’s Medicaid program. Jd.
Nl. THE AWP CLAIMS FAIL UNDER MONTANA AND NEVADA LAW.

Montana and Nevada assert AWP claims under their “deceptive trade practice” statutes
on behalf of Medicare beneficiaries and private health plans (in a parens patriae capacity). See
Mont. Count I; Nev. Counts I-II. The States also assert on their own behalf that the alleged
AWP “misreporting” violates the “deceptive trade practice” statutes (Mont. Count II; Nev. Count
TI). Nevada further claims that the AWP conduct violates Nevada’s civil RICO statute (Nev.
Count IV), and Montana claims that it violates the State’s False Claims act (Mont. Count I'V).

A. Montana and Nevada Cannot Recover Under Any Fraud or Deception-Based

Theory for Their Voluntary Decision to Base Drug Reimbursement Under
Medicaid on AWP.

The AWP claims asserted on the States’ own behalf are prosecuted under the Nevada and
Montana “deceptive practices” statutes , the Nevada civil RICO provision, and the Montana
False Claims act. All of these claims are based on the core allegation that defendants defrauded
and misled the States by publishing inflated AWPs. Mont. Cplt. 1 173; Nev. Cplt. 7 136
(“Defendants simply fabricated and overstated their AWPs in furtherance of a scheme to
generate profit spreads to providers, PBMs and others and to increase defendants’ profits at the
expense of Patients and programs such as the Montana [and Nevada] Medicaid Program.”),
These claims cannot survive if the States were aware that the published AWPs bore “little
relationship to the drugs’ pricing in the marketplace.” Jd. See, e.g., Kennedy v. Josephthal &

Co., 814 F.2d 798, 802 (ist Cir. 1987) (fraud plaintiff not misled when previously “on notice that

something may have been amiss”); J. Geils Band Employee Benefit Plan v. Smith Barney

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Shearson, Inc., 76 F.3d 1245, 1252 (1st. Cir. 1996) (same where fraud plaintiff had received
“storm warnings” that statements may have been false); Young vy. LePone, 305 F.3d 1, 8 (1st Cir.
2002) (same). Yet States have known for decades that the published AWPs for many
prescription drugs bear “little relationship to the drugs’ pricing in the marketplace.” Mont. Cplt.
q 173; Nev. Cplt. ] 136.’

First, as early as 1974, the predecessor agency to HHS publicly announced that when
States peg Medicaid reimbursement to AWPs, they frequently pay “in excess of actual
acquisition cost to the retail pharmacist.” 39 Fed. Reg. 41,480 (Nov. 27, 1974). In 1975, the
same agency specifically warned States that “A WP data are frequently inflated,” and therefore
urged States to stop reimbursing Medicaid providers on the basis of AWP.® Second, in 1984, the
States were advised that actual prices charged to retail pharmacies could be as much as 42%
below AWP and a federal audit of drug prices in six States concluded that AWP was not “even
an adequate estimate of the prices providers are generally paying for their drugs.” Medicare
Action Transmittal No. 84-72, reprinted in Medicare & Medicaid Guide (CCH) 4 34,157 at
10,197 (1984) (Ex. 4). This Transmittal recommended that States “abandon the AWP
reimbursement methodology.” /d” Third, in the early 1990s, HCFA publicly disapproved the

Medicaid drug reimbursement plans of at least three States that proposed to use undiscounted

? Por purposes of this argument, defendants rely on the cited public record documents, which may be considered in
this motion. Under Rule 12(b)(6), the Court may consider “matters of public record,” such as the “published reports
of administrative bodies.” Pension Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196-97 (3d
Cir. 1993), aff'd, 215 F.3d 407 (3d Cir, 2000). See also Alternative Energy, ine, v. Saint Paul Fire & Marine Ins.
Co., 267 F.3d 30, 33 (Ist Cir. 2001), The Court may also consider “documents central to the plaintiff's claim” and
“documents sufficiently referred to in the complaint.” Watterson v. Page, 987 F.2d 1,3 {Ist Cir, 1993). See also
Chief Justice Cushing Highway Corp. v. Limbacher, 145 F. Supp.2d 108, 110 (D. Mass. 2001} (same).

* See 40 Fed. Reg. 34,576-78 (Aug, 15, 1975); see also 40 Fed, Reg, 32,284-293 (July 31, 1975).

° See also HHS IG Report, Use of A verage Wholesale Prices in Reimbursing Pharmacies in Medicaid and the
Medicare Prescription Drug Program (Oct. 1989), reprinted in Medicare & Medicaid Guide (CCH) 7 38,215
(1990) (Ex. 5) (warning States that “AWP cannot be the best -- or even an adequate -- estimate of the price providers
generally pay for drugs. AWP represents a list price and does not reflect several types of discounts.”),

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AWPs because it was so well-known that the published AWPs often exceeded provider
acquisition costs.'° Fourth, as the Court will recall, reports prepared by the federal government
demonstrate that Congress, HHS, and the States have long known that published AWPs
frequently are much higher than the prices at which providers actually purchase drugs."
Finally, in 1996, HHS conducted an audit of pharmacy acquisition costs for drugs
reimbursed under Montana’s state Medicaid program.'? HHS determined that AWP exceeded
provider purchase prices in Montana by as much as 31.6% for brand-name drugs and 67.4% for
generic drugs. Ex. 8 at appendix 2. On the basis of this audit, HHS concluded that Montana
faced a “significant difference between AWP and pharmacy acquisition costs,” and should
consider the results of the audit in “determining any future changes to pharmacy reimbursement
for Medicaid drugs.” Jd. at 6. In response to the audit, the Montana Department of Public
Health and Human Services still chose to keep its AWP-based system of reimbursement. /d.
appendix. 4. On the basis of this 1996 audit (and similar ones conducted by HHS in several

other States), in 1997 HHS revised the model State Medicaid Manual to include an advisory to

° See Louisiana v. United States Dep't of Health & Human Servs., 905 F.2d 877, 879 (5th Cir. 1990) {observing
that “[t]here has been considerable doubt for a number of years whether AWP provides the closest estimate of the
price generally and currently paid by pharmacists for drugs.”); in re Arkansas Dep't of Human Servs., 1991 WL
634857 (HHS Dep't App. Bd, Aug, 22, 1991) (disallowing reimbursement claim and noting that the State “was
aware that pharmacists generally paid less than” AWP) (Ex. 6); In re Oklahoma Dep't of Human Servs., 1991 WL
634860 (HHS Dep’t App. Bd. Aug. 13, 1991) (same result; noting “problem” caused by States’ use of AWP as a
“measure of acquisition cost”) (Ex 7). See also Rite Aid of Pennsylvania, inc. y. Houstoun, 171 F.3d 842, 847 (3d
Cir. 1999) (noting that “HCFA informed [Pennsylvania] that it would not accept AWP levels for ‘EAC without a
significant discount being applied,’ unless the [State] provided documentation that the actual acquisition cost
equaled the full AWP.”).

} See, e.g., Majority Staff Report, Special Comm. of Aging, U.S. Senate, Prescription Drug Prices: Are We
Getting Our Money's Worth?, S, Rep. 101-49, at 21 (1989) (noting that “hospitals, HMOs, and nursing homes that
contract with wholesalers achieve discounts up to 99% off AWP”); 39 Fed. Reg. 41,480 (Nov. 27, 1974) {observing
that when States peg Medicaid reimbursement to AWP they often pay “in excess of actual acquisition cost to the
retail pharmacist”).

2 See HHS, Review of Pharmacy Acquisition Costs Jor Drugs Reimbursed Under the Medicaid Prescription Drug
Program of the Montana Department of Health and Human Services (July 11, 1996) (Ex. 8).

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state Medicaid administrators that AWPs often exceed actual acquisitions costs for prescription
drugs.'°

Under these particular, extraordinary circumstances, neither Montana nor Nevada can
claim it was misled, deceived, or defrauded by the allegedly inflated AWPs about which the
States now complain. Not only did these States know that many AWPs represented a list
“sticker” price well above provider acquisition cost, these States decided to maintain an A WP-
based system of reimbursement in the face of repeated studies by HHS. Unlike the Medicare
program, which was required by Congress to maintain AWP as the reimbursement benchmark in
order to adequately compensate physicians, the States were under no such requirement. Indeed,
several States have heeded the HHS advice and adopted different reimbursement benchmarks for
Prescription drugs. But Nevada and Montana decided for their own policy reasons to stick with
AWP. That may have been an appropriate Medicaid policy choice for each State, but Nevada
and Montana cannot now claim that they were defrauded and misled. See Mont. Cplt. 1] 654-73;
Nev. Cplt. $4 423-43.

B. Nevada Lacks Standing to Assert its Racketeering Claim and Alleges No
Cognizable Enterprise.

Nevada’s AWP claims under the Nevada civil RICO statute, Nev. Rev. Stat. §
207.400(1)(c), fail for two fundamental reasons. First, the State lacks standing to sue for
monetary damages under its civil RICO statute. The statute provides a private right of action to
any “person” who is “injured in his business or property by reason of any violation of
[§ 207.400].” Nev. Rev. Stat, § 207.470. The term “person” is not defined in the statute, but is

defined in the Preliminary Chapter of the General Provisions of the Nevada Statutes to exclude

> See HHS IG, Medicaid Pharmacy -- Actual Acquisition Cost of Generic Prescription Drug Products at 1, A-06-
97-00011, reprinted in Medicare & Medicaid Guide (CCH) € 45,559 (Aug. 4, 1997) (Ex. 9 hereto).

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any government, governmental agency, or political subdivision of a government, unless
expressly included by a specific statute. See Nev. Rev. Stat. § 0.039. Further, federal courts
have construed the federal RICO statute to bar civil suits for damages by the federal government.
See, e.g., United States v. Bonanno Organized Crime Family, 879 F.2d 20, 21-27 (2d Cir. 1989)
(federal government not a “person” with standing to sue for damages under civil RICO statute).
Because the Nevada RICO statute is “patterned” after the federal RICO statute, Allum v. Valley
Bank of Nevada, 849 P.2d 297, 301 (Nev. 1993), the Court should apply this construction here.
Accordingly, the Nevada RICO statute bars civil suits for damages by the state government.

Second, even if the State has standing to assert a civil RICO claim for damages, Nevada
does not set forth a single viable RICO enterprise. Nevada purports to assert a series of 39
“association-in-fact” enterprises involving each of the 13 defendant Companies and each one of
three identified publishers of AWPs. See Nev. Cplt. 9] 449-53. These “Manufacturer-Publisher
Enterprises” are identical to the “Manufacturer-Publisher Enterprises” alleged by the private
plaintiffs in the AMCC, See AMCC 4 624. Accordingly, Nevada’s alleged enterprise fails for
the same reasons previously set forth in the motion to dismiss the AMCc."*

IH. THE COMPLAINTS LACK THE PARTICULARITY REQUIRED BY RULE 9(B).

Under Federal Rule of Civil Procedure 9(b), all claims in which fraud “lies at the core of
the action” must be pleaded with particularity, with plaintiffs specifying the time, place, and
content of each assertedly fraudulent statement, and the allegedly fraudulent acts of each

Company. Hayduk v. Lanna, 775 F.2d 441, 443-44 (1st Cir. 1985); Suna v. Bailey Corp., 107

14 , .
Consol. Mem. in Support of Deft’s Mot. to Dis. the AMCC at 7-8 (Aug. 1, 2003) (“Consol. Mem,”) at 14-17.

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F.3d 64, 73 (Ist Cir. 1997). Because fraud “lies at the core of the action” in all of plaintiffs’
claims, the Best Price claims and major portions of the AWP claims fail under Rule 9(b)."°

A. The Best Price Claims Are Too Cursory to Survive Dismissal.

Even if not preempted, and even if they satisfy the elements of the Montana and Nevada
statutes upon which they are based, the Best Price claims fail under Rule 9(b). Although the
Montana and Nevada Complaints each are weil over 100 pages long, the Best Price claims are
alleged in only a handful of general paragraphs. For example, the States allege that “each
defendant did not report the actual best price or AMP, but instead (i) reported higher prices and
(it) excluded discounts and other inducements offered to physicians.” Nev. Cplt. 392; Mont.
Cplt. | 622. The States also allege “on information and belief” that various unnamed “drug
manufacturers” also “hid rebates” by not including “credit memos” and “other rebates” in the
relevant best price calculations. Nev. Cplt. 393-96. Nevada provides only two purported
examples, referring to the recent settlements involving AstraZeneca’s product Zoladex and the
Pfizer/legacy Warner-Lambert product Lipitor. Nev. Cplt. 1] 398-403; see also Mont. Cplt.
{Ij 623-26 (also referring to the GSK settlement involving Flonase and Paxil sold to a single
purchaser and the Bayer settlement involving Cipro sales to a single HMO). Taken together,
these allegations are woefully deficient under Rule 9(b).

First, Montana and Nevada do not specify a single allegedly fraudulent best price report, nor do
they identify the dates or “fraudulent” content of any such reports. Second, there is no discount
identified that should have been included in the best price calculation, nor any “free good”

“rebate,” “educational grant,” or “credit memo” that should have been included. Nor do the

> See Ahmed v. Rosenblatt, 118 F.3d 886, 889 (Ist Cir. 1997) (Rule 9(b) applies to RICO claims); United States v.
Melrose-Wakefield Hosp., 2003 WL 21228801, *3 (D. Mass. May 21, 2003) (same for False Claims Act claims);
Stires v. Carnival Corp., 243 F. Supp.2d 1313, 1322 (M.D, Fla. 2002) (same for deceptive trade practice claims in
“most courts”),

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States identify any company or drug for which a best price allegedly was erroneously reported,
other than a few references to recent settlements. The Best Price claims accordingly fail to
satisfy Rule 9(b) for the vast majority of defendants and drugs identified by plaintiffs.

A federal magistrate recently recommended dismissal under Rule 9(b) of similarly
deficient Best Price claims against Merck & Co., Inc. In LaCorte vy. Merck & Co., Inc., No. 99-
3807, slip op. at 6 (E.D. La. Aug. 27, 2003) (Ex. 10), the plaintiff alleged that Merck failed to
report an accurate best price for its drug Pepcid over a defined time period, However, the
Magistrate recommended dismissal of the best price claims (predicated on the federal False
Claims Act) with prejudice because the complaint (1) provided “no particular dates of [best
price] report submissions,” (2) did not explain “why the [best price] information was false,” (3)
did not state “who submitted the report,” and (4) also failed to “refer to a single instance where
[defendant] submitted prices to the government that [were] distinct from those paid by
[providers].” Jd, at 6, 16. As in LaCorte, Montana and Nevada’s failure to identify a single
particular best price report compels dismissal of the best price claims.

B. The Allegations Relating To PBMs And “Other” Alleged “Hidden and
Improper Inducements” Are Also Devoid of Particulars.

In a mere nine paragraphs of each Complaint, the States purport to encompass within this

lawsuit hundreds or thousands of drugs outside the Medicare and Medicaid frameworks through
private payor contracts with pharmacy benefit managers, or “PBMs.” See Mont. Cplt. ff 201-
209; Nev, Cpit. 7] 164-172. This PRM theory applies specifically to the “deceptive trade

practice” claims on behalf of state residents. The theory is identical to the one asserted by the

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class action plaintiffs in the AMCC, and should be dismissed under Rule 9(b) for the same
reasons previously explained by the AMCC defendants. See Consol. Mem. at 7-8.'°

Similarly, in four short paragraphs, the States seek to include other alleged practices as
part of their AWP claims, such as the “improper use of free samples” and “other non-public
financial inducements” such as “volume discounts, rebates, off-invoice pricing, free goods, credit
memos, consulting fees, debt forgiveness, and educational and promotional grants.” Mont. Cplt.
"| 181-84; Nev. Cplt. {9 144-47. These sweeping, all-inclusive allegations, devoid of particulars
as to the conduct of individual defendants, are plainly insufficient under Rule 9(b) for the same

reasons explained in the motion to dismiss the AMCC. See Consol. Mem. at 7-8."7

CONCLUSION

For the foregoing reasons, the Second Amended Complaint filed by the State of Montana

and the Amended Complaint filed by the State of Nevada should be dismissed.

'® Relatedly, all claims involving drugs not specifically named in Montana and Nevada's Complaints should be
dismissed in accordance with this Court's prior ruling in the AWP MDL. See Jn re Pharm. indus. AWP Litig., 263
F. Supp.2d 172, 194 (D. Mass. 2003) (“to the extent the complaint seeks to encompass all ‘brand name drugs’ . . .
named drugs without a specific fraudulent AWP, or generic multi-source drugs, the motion to dismiss is
ALLOWED.”) (emphasis in original).

"7 The States’ AWP claims based on multiple-source drugs (Mont. Cpt. {{] 185-200; Nev. Cplt. {¥ 148-63) should
be dismissed for the same reasons that these claims were dismissed from the AWP MDL. See in re AWP Litig., 263
F. Supp.2d at 194.11. The States also assert claims for punitive damages as Counts of their Complaints. See
Mont. Cplt. {] 692-93 (Count Y); Nev. Cplt. Y{¥] 478-79 (Count VI). These claims, however, are merely demands for
a particular type of relief, and should be dismissed along with the substantive causes of action. See, 2.g., Byrne v.
Nezhat, 261 F.3d 1075, 1093 n.34 (11th Cir, 2001) (‘a prayer for punitive damages is not an independent cause of
action”); Indemnified Capital investments, S.A. v. R.J. O'Brien Assocs., ine., 12 F.3d 1406, 1413 (7th Cir. 1993)
(plaintiff “must prevail on one of its substantive claims in order to receive an award of punitive damages.”),

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DATE: September 15, 2003

ON BEHALF OF:

ABBOTT LABORATORIES
AMGEN, INC.
APOTHECON, INC,

COVINGTON & BURLING 11 COPY ROOM 3 916179517858

NO. 87S

Respectfully submitted,

ON BEHALF OF LISTED DEFENDANTS
IN THE ABOVE-CAPTIONED ACTIONS,

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ASTRAZENECA PHARMACEUTICALS LP

AVENTIS BEHRING L.L.C.
AVENTIS PHARMACEUTICALS, INC,

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B. BRAUN OF AMERICA

BAXTER HEALTHCARE CORPORATION
BAXTER INTERNATIONAL, INC.

BAYER CORPORATION

BEDFORD LABORATORIES

BEN VENUE LABORATORIES, INC.
BOEHRINGER INGLEHEIM CORP.
BRISTOL-MYERS SQUIBB CO.

CENTOCOR, INC.

DEY, INC.

GENSIA, INC.

GENSIA SICOR PHARMACEUTICALS, INC.
HOECHST MARION ROUSSEL, INC.

IMMUNEX CORP.

JANSSEN PHARMACEUTICAL PRODUCTS, L.P.
JOHNSON & JOHNSON

MCNEIL-PPC, INC.

NOVARTIS PHARMACEUTICALS CORPORATION
ONCOLOGY THERAPEUTICS NETWORK CORPORATION
ORTHO BIOTECH

PFIZER, INC.

PHARMACIA CORPORATION
PHARMACIA & UPJOHN, INC,

SCHERING-PLOUGH CORPORATION

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SMITHKLINE BEECHAM CORPORATION
TAP PHARMACEUTICAL PRODUCTS, INC.

WARRICK PHARMACEUTICALS CORPORATION

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CERTIFICATE OF SERVICE

I hereby certify that on this 15th day of September, 2003, a true and correct copy of the
foregoing Motion to Dismiss the State of Montana’s Second Amended Complaint and the State
of Nevada’s Amended Complaint, and the Consolidated Memorandum in support thereof, was
served on all counsel of record by electronic service pursuant to Case Management Order No. 2

entered by the Honorable Patti B. Saris in MDL No. 1456. \

] ason A, Levine ~

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Nn ROPES & GRAY LLP
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BOSTON NEW YORK SAN FRANCISCO WASHINGTON, DC

September 15, 2003 a John R. Therien
OS Se Rep (617) 951-7966

jtherien@ropesgray.com

Clerk for Civil Business

United States District Court

for the District of Massachusetts
U.S. Courthouse

One Courthouse Way, Suite 2300
Boston, MA 02210

Re: In re: Pharmaceutical Industry Average Wholesale Price Litigation MDL No. 1456
Dear Sir/Madam:
Enclosed for filing please find the following:

(1) Defendants’ Motion to Dismiss the State of Montana’s Second Amended
Complaint and the State of Nevada’s Amended Complaint; and

(2) Appendix of Exhibits.

Please date-stamp the enclosed copy of this cover letter and return it to our messenger. Thank

you.

Very fruly yours,

John R. Therien

ce: All counsel of record (via Verilaw)

9255869 |
